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                            UNITED STATES DISTRICT COURT
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               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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      Skot Heckman, Luis Ponce, Jeanene        CASE NO. CV 22-0047-GW-GJSx
   16 Popp, and Jacob Roberts, on behalf of
      themselves and all those similarly       ORDER ON JOINT STIPULATION
   17 situated,                                PERMITTING PLAINTIFFS TO
                                               RESPOND TO THIRD PARTY
   18              Plaintiffs,                 NEW ERA’S JUNE 1, 2023
                                               DECLARATION
   19         v.
   20 Live Nation Entertainment, Inc., and
      Ticketmaster LLC,                        Assigned to: Honorable George H. Wu
   21
                  Defendants.
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                                                   [PROPOSED] ORDER ON JOINT STIPULATION
                                                             CASE NO. 2:22-CV-00047-GW-GJS
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               Pending before this Court is a Joint Stipulation Permitting Plaintiffs to
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         Respond to Third Party New Era’s June 1, 2023 Declaration (“Joint Stipulation”)
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         filed by Plaintiffs Skot Heckman, Luis Ponce, Jeanene Popp, and Jacob Roberts
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         (together, “Plaintiffs”) and Defendants Ticketmaster L.L.C. and Live Nation
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         Entertainment, Inc. (together, “Defendants”). Upon consideration of the parties’
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         Joint Stipulation, and good cause appearing, IT IS HEREBY ORDERED that the
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         Joint Stipulation is GRANTED. The court orders as follows:
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               a.    Plaintiffs may file a brief in response to New Era ADR Inc.’s June 1,
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                     2023 declaration.
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               b.    Plaintiffs’ response brief shall not exceed five pages.
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               c.    Plaintiffs shall file any response brief on or before June 19, 2023.
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         IT IS SO ORDERED.
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         Dated: June 12, 2023                      _________________________
   16                                              Hon. George H. Wu
   17                                              United States District Judge
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                                                         [PROPOSED] ORDER ON JOINT STIPULATION
                                                   1               CASE NO. 2:22-CV-00047-GW-GJS
